Case 3:24-cv-00283-ART-CSD Document 1-1 Filed 07/03/24 Page 1of1
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

JS 44 (Rev. 10/20)

purpose of initiating the civil docket sheet

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS

John Dogbe
Alberta Dogbe

(b) County of Residence of First Listed Plaintiff Wake
(EXCEPT IN U.S. PLAINTIFF CASES)

DEFENDANTS

(c) Attorneys (Firm Name, Address, and Telephone Number)

Jennifer McMen

omy

McMenomy Law, PLLC

100 Vine Street

NOTE:
THE TRACT

Attorneys (if Known)

County of Residence of First Listed Defendant

The Lakes at Lemmon Valley, LLC

Washoe

(IN U.S. PLAINTIFF CASES ONLY)

OF LAND INVOLVED

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

II.

BASIS OF JURISDICTION (Place an “X" in One Box Only)

(For Diversity Cases Only)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X" in One Box for Plaintiff

and One Box for Defendant)

[]1 U.S. Government (x]3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State Cj I [x] 1 Incorporated or Principal Place CL] 4 [x] 4
of Business In This State
E] 2 U.S. Government LE] 4 Diversity Citizen of Another State [x] 2 EC] 2 Incorporated and Principal Place LE] 5 LC] 5
Defendant (Indicate Citizenship of Parties in Item III) of Business In Another State
Citizen or Subject ofa (13 [] 3. Foreign Nation Lle (Ce
Foreign Country
IV. NATURE OF SUIT piace an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT TORTS _FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane CL] 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability |_|690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability L] 367 Health Care/ 400 State Reapportionment
LC 150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical ERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights |_| 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability 830 Patent |_| 450 Commerce
152 Recovery of Defaulted Liability C 368 Asbestos Personal 835 Patent - Abbreviated |_| 460 Deportation
Student Loans 340 Marine Injury Product New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) H 345 Marine Product Liability 840 Trademark Corrupt Organizations
CL] 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR _ |_| 880 Defend Trade Secrets | 480 Consumer Credit
5 of Veteran’s Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
|_| 160 Stockholders’ Suits -| 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
|] 190 Other Contract Product Liability [__] 380 Other Personal |_]720 Labor/Management ___ SOCIAL SECURITY Protection Act
| 195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) — 490 Cable/Sat TV
|_| 196 Franchise Injury CE] 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
cy 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(g)) Exchange

[___REALPROPERTY_|

Medical Malpractice
(CIVIL RIGHTS

PRISONER PET

Leave Act
790 Other Labor Litigation

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
|_| 240 Torts to Land

|_| 245 Tort Product Liability
| 290 All Other Real Property

|_| 440 Other Civil Rights
441 Voting
442 Employment
| 443 Housing/
Accommodations
|_| 445 Amer. w/Disabilities -
Employment
|| 446 Amer, w/Disabilities -
Other
|| 448 Education

Habeas Corpus:

463 Alien Detainee

510 Motions to Vacate
Sentence

530 General

535 Death Penalty

Other:

540 Mandamus & Other

550 Civil Rights

555 Prison Condition

560 Civil Detainee -

Conditions of

Confinement

E
1
:

|_| 791 Employee Retirement
Income Security Act

IMMIGRATION:

864 SSID Title XVI
[| 865 RSI (405(g))

a 890 Other Statutory Actions

i

870 Taxes (U.S. Plaintiff
or Defendant)
[_] 871 IRS—Third Party
26 USC 7609

462 Naturalization Application
465 Other Immigration
Actions

|_| 891 Agricultural Acts
893 Environmental Matters
895 Freedom of Information
Act
896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|_| 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “Xx” in One Box Only)

1 Original
Proceeding

2 Removed from
State Court

3

Remanded from
Appellate Court

C4 Reinstated or O15 Transferred from
Another District

(specify)

Reopened

Transfer

6 Multidistrict
Litigation -

CO 8 Multidistrict
Litigation -
Direct File

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
28 USC 1331 and 28 USC 1343

Brief description of cause:
Civil rights violation, housing

VIL REQUESTEDIN —= (J CHECK IF THIS IS A CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [x]Yes [No
VIII. RELATED CASE(S)
IF ANY OO" JUDGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

